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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                      Crim. Action No.: 2:20-CR-26-2
                                                                 (Judge Kleeh)

 KEVIN WAYNE FULTZ,

                     Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 228],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On May 17, 2021, the Defendant, Kevin Wayne Fultz (“Fultz”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of GUILTY to Count Five of

 the   Indictment,        charging       him    with     Aiding       and   Abetting    the

 Possession with Intent to Distribute Fentanyl, in violation of

 Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C)

 and Title 18, United States Code, Section 2. Fultz stated that he

 understood      that    the     magistrate      judge    is    not    a    United   States

 District       Judge,    and    Fultz    consented       to    pleading      before    the

 magistrate judge.         This Court referred Fultz’s plea of guilty to

 the   magistrate        judge    for     the    purpose       of   administering       the

 allocution, pursuant to Federal Rule of Criminal Procedure 11,

 making     a   finding    as     to   whether     the    plea      was     knowingly   and
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 voluntarily entered, and recommending to this Court whether the

 plea should be accepted.

       Based upon Fultz’s statements during the plea hearing, and

 the Government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that Fultz

 was competent to enter a plea, that the plea was freely and

 voluntarily given, that Fultz was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea.         The magistrate judge

 issued a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) [Dkt. No. 228] finding a factual basis for the

 plea and recommending that this Court accept Fultz’s plea of guilty

 to Count Five of the Indictment.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.         He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.           Neither Fultz nor the

 Government filed objections to the R&R.

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       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 228], provisionally ACCEPTS Fultz’s guilty plea, and

 ADJUDGES him GUILTY of the crime charged in Count Five of the

 Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.    The   Probation     Officer    shall   undertake     a   presentence

 investigation of Fultz, and prepare a presentence investigation

 report for the Court;

       2.    The    Government    and   Fultz   shall   each      provide   their

 narrative descriptions of the offense to the Probation Officer by

 June 21, 2021;

       3.    The presentence investigation report shall be disclosed

 to Fultz, his counsel, and the Government on or before August 20,

 2021;   however,    the   Probation    Officer     shall   not    disclose   any

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

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       4.     Counsel may file written objections to the presentence

 investigation report on or before September 3, 2021;

       5.     The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 September 17, 2021; and

       6.     Counsel may file any written sentencing memorandum or

 statements     and   motions    for   departure    from    the    Sentencing

 Guidelines, including the factual basis for the same, on or before

 October 1, 2021.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with him the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Fultz on

 October 28, 2021, at 11:30 a.m., at the Elkins, West Virginia point

 of holding court. If counsel anticipates having multiple witnesses

 or an otherwise lengthy sentencing hearing, please notify the

 Judge’s chamber staff so that an adequate amount of time can be

 scheduled.

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       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

       DATED: June 8, 2021


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




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